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ATTORNEYS FOR PLAINTIFF
UNITED STATES OF AMERICA

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         HELENA DIVISION

 UNITED STATES OF AMERICA,                  CR 24-26-H-BMM

              Plaintiff,
                                            OFFER OF PROOF
       vs.

 BRYANT NICHOLAS ESPINOZA,

              Defendant.



                                THE CHARGE

      The defendant, Bryant Nicholas Espinoza, is charged in the indictment with

the crimes of unlawful possession of a firearm in a school zone, in violation of 18

U.S.C. § 922(1)(2)(A) (count 1) and prohibited person in possession of firearms



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and ammunition, in violation of 18 U.S.C. § 922(g)(8) (count 2). Forfeiture

pursuant to 18 U.S.C. § 924(d) is also alleged.

      The defendant has filed a motion to enter guilty plea. See Doc. 28.

                             PLEA AGREEMENT

      There is a plea agreement. The defendant’s plea to count 1 of the indictment,

in the government’s view, is the most favorable resolution for the defendant. See

Missouri v. Frye, 566 U.S. 134 (2012). Two written plea agreements were offered.

      At the time of sentencing, provided the defendant complies with the plea

agreement and it is accepted by the Court, the United States will move to dismiss

count 2 of the indictment.

                                  ELEMENTS

      For the defendant to be found guilty of possession of a firearm in a school

zone as charged in count 1 of the indictment, the United States must prove each of

the following elements beyond a reasonable doubt:

         • First, the defendant knowingly possessed a firearm;

         • Second, the firearm moved in or otherwise affected interstate
           commerce, and

         • Third, the possession occurred in a place that the defendant knew or
           had reasonable cause to believe was a school zone.



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                                  PENALTY

      The offense charged in count 1 of the indictment carries a maximum penalty

of five years imprisonment, consecutive to any other count of conviction, a

$100,000 fine, three years of supervised release and a $100 special assessment.

                        ANTICIPATED EVIDENCE

      If this case were tried in United States District Court, the United States

would prove the following:

      1.    The Lewis and Clark County Sheriff’s Office was contacted by the

Jim Darcy Elementary School principal on February 7, 2024. The principal advised

the responding deputy that she was notified by a staff member that the day prior

the parent of a student was on campus and was carrying a firearm. The staff

member originally observed a male, later identified as Bryant Espinoza, standing

out in front of the school with a small dog. The staff member approached Espinoza

to assist him, and the defendant informed her that he was there to pick up his

daughter, who was a student at the school. At one point during their conversation

the staff member observed Espinoza was carrying a firearm. The staff member was

able to get the student’s information to confirm he was a parent and went back

inside the building.



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      2.     The deputy showed the staff member a photo of Espinoza. She said

the male in the photo was the same person she talked to in front of the school the

day before, only he had shorter hair than the photo. The deputy watched

surveillance video of the defendant at the school. While reviewing the video, the

deputy observed Espinoza standing in front of the school, on school property, with

a small dog. In the video the deputy observed the defendant turn and what

appeared to be a pistol was in a holster on his left hip. A copy of the surveillance

video from the school was obtained.

      3.     On February 9, 2024, agents from the ATF and Lewis and Clark

County Sheriff’s Office executed a federal search warrant at Espinoza’s residence

where a Hi-Point 9mm pistol, two rifles and ammunition were seized. Espinoza

and his wife were interviewed after waiving their respective Miranda rights. An

ATF agent informed the defendant that the investigation stemmed from him having

a firearm at Jim Darcy School. Espinoza remembered the incident. The agent

showed the defendant still photos taken from the surveillance video of Bryant in

front of the school with the firearm, and the defendant identified the person in the

photo as himself. The agent pointed out the item on the defendant’s left hip and

Espinoza said it looked like a firearm. The agent asked the defendant if he still had

the pistol and he stated it was in the RV next to the bed. The agent asked Espinoza

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if there was a reason he had the firearm at the school, and the defendant responded

that Montana was an “open carry state.”

      4.    The ATF special agent confirmed that the Hi-Point 9mm pistol was

manufactured in Ohio.


      DATED this 14th day of February 2025.


                                      JESSE A. LASLOVICH
                                      United States Attorney

                                      /s/ Paulette L. Stewart
                                      Paulette L. Stewart
                                      Assistant United States Attorney




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